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               United States Court of Appeals
                                For the First Circuit
                               ____________________________
 No. 19-1795



                            OLIVIA KARPINSKI; PAUL EDALAT

                                      Plaintiffs - Appellants

                                                v.

     UNION LEADER CORPORATION; PATRICIA J. GROSSMITH; TRENT E. SPINER

                                    Defendants - Appellees
                               ____________________________

                                          JUDGMENT

                                  Entered: November 7, 2019
                                 Pursuant to 1st Cir. R. 27.0(d)

        Upon consideration of stipulation, it is hereby ordered that this appeal be voluntarily
 dismissed pursuant to Fed. R. App. P. 42(b).

        Mandate to issue forthwith.

                                             By the Court:

                                             Maria R. Hamilton, Clerk

 cc:
 Matthew Reeves Johnson
 Gregory V. Sullivan
